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                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION


UNITED STATES OF AMERICA


vs.
                                                 Case No. 4:17-cr-00208-13


BRITTANY LATISHA JAMES

              Defendant


                                          ORDER


        Upon consideration of Defendant's Motion to File Under Seal, it is hereby ORDERED
that;
        The Defendant's Motion to File Under Seal is GRANTED. The Clerk shall file

Defendant's Sentencing Memorandum under seal.

Thisy^/ day of January,2018


                                                         Honorable William T. Moore Jr.
                                                         Judge of United States District Court
                                                         Southern District of Georgia
                                                         Savannah Division
